 Case 1:13-cv-01064-JTN ECF No. 431, PageID.6480 Filed 07/12/20 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


 OLDNAR CORPORATION, f/k/a
 NARTRON CORPORATION, a/k/a
 GEN X MICROSYSTEMS, INC.,
                                                                    Case No. 1:13-cv-1064
        Plaintiff,
                                                                    HON. JANET T. NEFF
 v.

 SANYO NORTH AMERICA
 CORPORATION and PANASONIC
 CORPORATION OF NORTH AMERICA,

        Defendants.
 ____________________________/


                                             ORDER

       The Court having conducted an evidentiary hearing in this case on July 9, 2020:

       IT IS HEREBY ORDERED that the parties shall file closing briefs focused exclusively

on the evidence presented at the hearing on the two issues before the Court:

       (1)     identification of Nartron’s intellectual property/“know-how,” if any, used by
               Defendants without permission; and

       (2)     how the intellectual property/“know-how,” if any, was used:

to show why Nartron has/has not established each of the three remaining claims: the contract

claim against Sanyo under § 9.3 of the DSA; the unjust enrichment claim against Sanyo; and the

unjust enrichment claim against Panasonic.

       IT IS FURTHER ORDERED that:

       (1)     Nartron’s closing Brief, not to exceed 10 pages, shall be filed within 21 after the
               filing of the hearing transcript;
 Case 1:13-cv-01064-JTN ECF No. 431, PageID.6481 Filed 07/12/20 Page 2 of 2




      (2)    Defendants’ Response, not to exceed 10 pages, shall be filed within 21 days after
             the filing of Nartron’s brief; and

      (3)    Nartron’s Reply, not to exceed 3 pages, shall be filed within 14 days after the filing
             of Defendants’ Response.


Dated: July 12, 2020                                           /s/ Janet T. Neff
                                                           JANET T. NEFF
                                                           United States District Judge




                                          Page 2 of 2
